Case 2:22-cv-00223-Z          Document 240          Filed 03/03/25   Page 1 of 5   PageID 15197



                             UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                         AMARILLO DIVISION


  MISSOURI, KANSAS, and IDAHO,
                           Intervenor-Plaintiffs,
             v.                                                  Case No. 2:22-cv-00223-Z


  U.S. FOOD AND DRUG ADMINISTRATION, et al.,
                           Defendants,
             and
  DANCO LABORATORIES, LLC,
                           Intervenor-Defendant.


  UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE REPLY IN SUPPORT
                  OF DANCO’S MOTION TO DISMISS

        In light of Federal Defendants’ motion for extension of time, Danco respectfully requests

 that its reply deadline be extended by the same amount. In support of this request, Danco states

 as follows:

        1.         On January 18, 2025, Federal Defendants moved to dismiss Intervenor-Plaintiffs’

 amended complaint. ECF No. 218. On January 28, 2025, Danco moved to dismiss Intervenor-

 Plaintiffs’ amended complaint. ECF No. 221.

        2.         On February 4, 2025, Intervenor-Plaintiffs moved for an extension of time to

 respond to the motions to dismiss and to file a consolidated response, ECF No. 226, which this

 Court granted, ECF No. 227. Intervenor-Plaintiffs filed their consolidated response on February

 20, 2025. ECF No. 228.

        3.         Absent an extension, Federal Defendants’ and Danco’s replies would be due on

 March 6, 2025. See Local Rule 7.1(f).


                                                     1
Case 2:22-cv-00223-Z        Document 240        Filed 03/03/25       Page 2 of 5      PageID 15198



        4.      On March 3, 2025, Federal Defendants moved for a 60-day or 30-day extension of

 time within which to file their reply. ECF No. 238. Danco consented to the request for a 30-day

 extension so long as Danco’s reply date is moved by the same amount, and Danco took no position

 on a 60-day extension so long as Danco’s reply date is moved by the same amount.

        5.      This Court has “ ‘generously granted extensions to all parties’ in this case.” ECF

 No. 227 (quoting ECF No. 168).

        6.      An extension is also warranted due to the press of other business. Over the next

 several weeks, counsel of record is occupied with briefing deadlines for a variety of matters,

 including: a reply brief due on March 21 in Avient Corporation v. Westlake Vinyls, Inc., No. 24-

 5989 (6th Cir.); an opening brief due on April 2 in La Union del Pueblo Entero v. Federal

 Emergency Management Agency, No. 24-40756 (5th Cir.); a brief in opposition due on April 11

 in Grant ex rel. United States v. Zorn, No. 24-549 (U.S.); a response brief due on April 18 in N’Jai

 v. United States Department of Education, No. 24-SP-0735 (D.C.); and a response brief due on

 May 16 in In Re: Oral Phenylephrine Marketing and Sales Practices Litigation, No. 24-03296

 (2nd Cir.).

        7.      On March 3, 2025, counsel for Danco conferred with counsel for Federal

 Defendants and Intervenor-Plaintiffs, which stated that they consent to aligning Danco’s reply

 deadline with an extension granted to Federal Defendants. See Local Rule 7.1(b).

        For the foregoing reasons, the motion should be granted.




                                                  2
Case 2:22-cv-00223-Z   Document 240   Filed 03/03/25       Page 3 of 5   PageID 15199



                                           Respectfully submitted,

                                           /s/ Jessica L. Ellsworth  _
                                           Ryan Brown
                                           RYAN BROWN ATTORNEY AT LAW
                                           Texas Bar No. 24073967
                                           ryan@ryanbrownattorneyatlaw.com
                                           1222 S. Fillmore Street
                                           Amarillo, TX 79101
                                           Tel: (806) 372-5711

                                           Jessica L. Ellsworth*
                                           Catherine E. Stetson*
                                           Philip Katz*
                                           Lynn W. Mehler*
                                           Marlan Golden*
                                           HOGAN LOVELLS US LLP
                                           555 Thirteenth Street N.W.
                                           Washington, D.C. 20004
                                           Tel: (202) 637-5600
                                           jessica.ellsworth@hoganlovells.com

                                           *admitted pro hac vice

                                           Counsel for Danco Laboratories, LLC
 March 3, 2025




                                       3
Case 2:22-cv-00223-Z       Document 240        Filed 03/03/25       Page 4 of 5   PageID 15200



                             CERTIFICATE OF COMPLIANCE

       I hereby certify that this brief complies with Local Rule 7.2(c).

                                                     /s/ Jessica L. Ellsworth
                                                     Jessica L. Ellsworth
Case 2:22-cv-00223-Z        Document 240         Filed 03/03/25      Page 5 of 5      PageID 15201



                                  CERTIFICATE OF SERVICE

         I certify that on March 3, 2025, I electronically filed the foregoing using the CM/ECF

 system. Notice of this filing will be sent by operation of the Court’s electronic filing system to

 all parties of record.

                                                       /s/ Jessica L. Ellsworth
                                                       Jessica L. Ellsworth
